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 8
 9                      IN THE UNITED STATES DISTRICT COURT

10                            FOR THE DISTRICT OF ARIZONA

11                                                        No. CV-22-00068-PHX-SMB
     Trevor Reid, et al.,
12
                        Plaintiffs,                      REPLY OF SUBSTITUTED
13                                                   DEFENDANT UNITED STATES OF
                   v.                                 AMERICA IN SUPPORT OF ITS
14                                                   MOTION TO CONSOLIDATE AND
     United States Department of Interior, et al.,      EXTEND THE RESPONSIVE
15                                                        PLEADING DEADLINE
16                      Defendants.                   (FIRST REQUEST TO EXTEND)

17
18          The United States of America (“United States”) replies in support of its Motion to
19   Consolidate and Extend the Responsive Pleading Deadline (First Request) (Doc. 17).
20   Plaintiffs agree that a consolidated responsive pleading deadline for all defendants would
21   be consistent with Rule 1, Fed. R. Civ. P. (Doc. 19, p. 1) (Plaintiffs’ Joint Response)
22   (“Response”). Plaintiffs admit personal service was not made on defendants Justin P.
23   Doyle, David Ballam, or Cynthia Sirk-Fear (the “individual defendants”). Id. Plaintiffs
24   argue that all defendants — “by operation of Plaintiffs’ Joint Notice of Voluntary Dismissal
25   of Specified Claims as to Particular Individual Defendants” (Doc. 18) (“Joint Notice”) —
26   have either been “served per [Rule] 4(i)(1), (2) . . . or substituted by a Defendant who has
27   been so served.” Response at p. 2. The Joint Notice voluntarily dismisses Plaintiffs’
28   constitutional (including Bivens) and situs (Virginia) common law and statutory claims
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 1   against the individual defendants only in their individual capacities. (Doc. 18, at p. 1). The
 2   Joint Notice purports to maintain “every claim” against the individual defendants in their
 3   official capacities.   Id. at p. 2.   Effectively, the Response presumes the individual
 4   defendants can be liable in their official capacities and, therefore, service under Rule 4(i)(2)
 5   is sufficient. This presumption, however, is erroneous. See e.g., Daly-Murphy v. Winston,
 6   837 F.2d 348, 355 (9th Cir. 1987) (“Because a Bivens action can be maintained against a
 7   defendant in his or her individual capacity only, and not in his or her official capacity, the
 8   failure to perfect individual service is fatal to appellant’s Bivens action against the named
 9   defendants.”) (citations omitted); Consejo de Desarrollo Economico de Mexicali, A.C. v.
10   United States, 482 F.3d 1157, 1173 (9th Cir. 2007) (“This is because a Bivens suit against
11   a defendant in his or her official capacity would merely be another way of pleading an
12   action against the United States, which would be barred by the doctrine of sovereign
13   immunity.”). (Citation omitted).
14          Plaintiffs concede that personal service on the individual defendants has not been
15   made. The United States is not currently authorized to represent the individual defendants
16   for the non-FTCA claims. The Parties agree that a consolidated responsive pleading
17   deadline for all defendants would serve the purpose and spirt of Rule 1.
18          The United States, therefore, respectfully requests the Court enter an order
19   consolidating and extending the responsive pleading deadline for all defendants to sixty
20   (60) days after proper service is effectuated on all defendants.
21
            RESPECTFULLY SUBMITTED this 17th day of June, 2022.
22
23                                                      GARY M. RESTAINO
                                                        United States Attorney
24                                                      District of Arizona
25                                                      s/Noel C. Capps
                                                        NOEL C. CAPPS
26                                                      Assistant United States Attorney
                                                        Attorneys for the United States
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 1
                                 CERTIFICATE OF SERVICE
 2
           I hereby certify that on June 17, 2022, I electronically transmitted the attached
 3
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4
     Notice of Electronic Filing to the following CM/ECF registrant(s):
 5
 6         Trevor Reid
           Crystale Reason
 7         2606 N. 44th St.
           Apt 316
 8         Phoenix, AZ 85008
           Crystale.Reid@gmail.com
 9         Trevor.D.Reid@gmail.com
10         Plaintiffs Pro Se
11
12
13
     s/ Lauren M. Routen
14   U.S. Attorney’s Office
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